Case 2:06-cr-00210-LDG-VCF   Document 185   Filed 07/28/06   Page 1 of 7
Case 2:06-cr-00210-LDG-VCF   Document 185   Filed 07/28/06   Page 2 of 7
Case 2:06-cr-00210-LDG-VCF   Document 185   Filed 07/28/06   Page 3 of 7
Case 2:06-cr-00210-LDG-VCF   Document 185   Filed 07/28/06   Page 4 of 7
Case 2:06-cr-00210-LDG-VCF   Document 185   Filed 07/28/06   Page 5 of 7
Case 2:06-cr-00210-LDG-VCF   Document 185   Filed 07/28/06   Page 6 of 7
Case 2:06-cr-00210-LDG-VCF   Document 185   Filed 07/28/06   Page 7 of 7
